                                    UNITED STATES
                          Case 2:20-cv-07145      DISTRICT COURT,
                                               Document           CENTRAL
                                                            2 Filed       DISTRICT
                                                                    08/08/20   PageOF CALIFORNIA
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                                                                                   CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself                     D)               DEFENDANTS                ( Check box if you are representing yourself               O)
                                                                                                    GoodRx, Inc.
    Pappas, George
                                                                                                    GoodRx Holdings, Inc.


(b) County of Residence of First Listed Plaintiff                    Illinois                       County of Residence of First Listed Defendant
                                                                     --------
(EXCEPT IN U.S. PIA/NT/FF CASES)                                                                    (IN U.S. PIA/NT/FF CASES ONLY)

(c) Attorneys (Firm Name, Address and Telephone Number) If you are                                  Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                                representing yourself, provide the same information.


    See Attachment



11. BASIS OF JURISDICTION (Place an X in one box only.)                                   Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                                (Place an X in one box for plaintiff and one for defendant)
                                                                                                                        PTF         DEF                                             PTF       DEF
D 1. U.S. Government                     [8]    3, Federal Question (U.S.                 Citizen ofThis State          D     1     D     1    Incorporated or Principal Place
                                                                                                                                               of Business in this State
                                                                                                                                                                                    D     4
                                                                                                                                                                                              □     4
       Plaintiff                                Government Not a Party)
                                                                                          Citizen of Another State      D     2     D     2    Incorporated and Principal Place      D    5   □     5
                                                                                                                                               of Business in Another State
D 2. U.S. Government                     D 4. Diversity (Indicate Citizenship             Citizen or Subject of a
                                                                                                                        O     3     O     3    Foreign Nation
        Defendant                              of Parties in Item Ill)                    Foreign Country


IV. ORIGIN (Place an X in one box only.)
fvl 1. Original           D 2. Removed from              D 3. Remanded from             □ 4.
                                                                                                 ·
                                                                                               Remstate d
                                                                                                          or    D    s. Transferred fr~m Another       D    6. Multi-
                                                                                                                                                               District
~      Proceeding                 State Court                  Appellate Court                 Reopened                 District (Specify)                  Litigation


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                   0      Yes    [8j   No      (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23:                         [8J Yes     O No                         O MONEY DEMANDED IN COMPLAINT:                                $
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
    47 U.5.C. Section 27, Telephone Consumer Protection Act. This case challenges Defendant's practice of sending unsolicited text message to Plaintiffs cell phone through
    use of an auto-dialer.

VII. NATURE OF SUIT (Place an X in one box only).
        OTHER STATUTES                   CONTRACT              REAL PROPERTY CONT,                 ·IMMIGRATION                   PRISONER PETITIONS                      PROPERTY RIGHTS
I                                                                                                                                                                                                       I
□       375 False Claims Act       □    110 Insurance
                                                               □    240 Torts to Land
                                                                                              □
                                                                                                   462 Naturalization
                                                                                                   Application
                                                                                                                                    Habeas Corpus:              D   820 Copyrights

                                                               □                                                            □
        400 State                                                   245 Tort Product                                               463 Alien Detainee           D
□       Reapportionment            □    120 Marine
                                                                    Liability                      465 Other                       510 Motions to Vacate
                                                                                                                                                                    830 Patent

                                   D                                                          □                             □      Sentence                     D   840 Trademark
                                                               □
                                        130 Miller Act              290 All Other Real             Immigration Actions
□       410 Antitrust
                                        140 Negotiable
                                                                    Property                         TORTS                  □      530 General                            SOCIAI.SECURtTY               I
□      430 Banks and Banking
                                   □    Instrument                     TORTS                   PERSONAL PROPERTY
                                                                                                                            □      535 Death Penalty            0   861 HIA (1395ff)
        450 Commerce/ICC                                           PERSONAL INJURY
□                                                                                             □                                                                 D
                                        150 Recovery of                                            370 Other Fraud                            Other:                862 Black Lung (923)
        Rates/Etc.
                                   □
                                        Overpayment &
                                                               □    310 Airplane
                                                                                                                                                                0
□      460 Deportation                  Enforcement of              315 Airplane              □    371 Truth in Lending
                                                                                                                            □      540 Mandamus/Other               863 DIWC/DIWW (405 (g))
        470 Racketeer lnflu-
                                        Judgment
                                                               □    Product Liability              380 Other Personal
                                                                                                                            □      550 Civil Rights             0   864 SSID Title XVI
□       enced & Corrupt Org.
                                   □    151 Medicare Act            320 Assault, Libel &      □    Property Damage
                                                               □
                                                                                                                                   555 Prison Condition
                                                                    Slander
                                                                                                   385 Property Damage      □                                   0   865 RSI (405 (g))
□      480 Consumer Credit              152 Recovery of             330 Fed. Employers'
                                                                                              □    Product Liability
                                                                                                                                   560 Civil Detainee
                                   □    Defaulted Student
                                                               □    Liability                                               □      Conditions of                      FE.OEftA~1'AX SUITS               I
□      490 Cable/Sat TV                 Loan (Exel. Vet.)                                           BANKRUPTCY                     Confinement
                                                                                                                                                                    870 Taxes (U.S. Plaintiff or
        850 Securities/Com-                                    □    340 Marine
                                                                                                   422 Appeal 28              FORFEITURE/PENALTY                □   Defendant)
□
                                        153 Recovery of
        modities/Exchange          D    Overpayment of
                                                               □
                                                                    345 Marine Product
                                                                                              □    USC 158                        625 Drug Related                  871 IRS-Third Party 26 USC
        890 Other Statutory
[El Actions
                                        Vet. Benefits
                                                                    Liability
                                                                                                   423 Withdrawal 28        D     Seizure of Property 21        □   7609
                                        160 Stockholders'      □    350 Motor Vehicle         □    USC 157                        USC 881

□       891 Agricultural Acts      □    Suits                       355 Motor Vehicle               CIVIL RIGHTS            □     690 Other
                                                               □    Product Liability
                                                                                                                                          LABOR
□
       893 Environmental
                                   □
                                        190Other                    360 Other Personal        □    440 Other Civil Rights
                                                                                                                            D
D
       Matters
       895 Freedom of Info.
                                        Contract
                                                               □    Injury
                                                                                              □    441 Voting                     710 Fair Labor Standards
                                                                                                                                  Act
                                        195 Contract                362 Personal Injury-
       Act
                                   □    Product Liability     □     Med Malpratice            □    442 Employment           D     720 Labor/Mgmt.
                                                                                                                                  Relations
D                                                                                                  443 Housing/
                                                                                              □
       896 Arbitration                                              365 Personal Injury-
                                   □    196 Franchise
                                                              □     Product Liability              Aecom modations
                                                                                                                            D     740 Railway Labor Act
       899 Admin. Procedures
                                       REAL PROPERTY                367 Health Care/               445 American with
                                                                                                                            D     751 Family and Medical
D      Act/Review of Appeal of
       Agency Decision             □
                                        210 Land
                                        Condemnation          □
                                                                    Pharmaceutical
                                                                    Personal Injury
                                                                                              □    Disabilities-
                                                                                                   Employment                     Leave Act
                                                                    Product Liability              446 American with        D     790 Other Labor
D      950 Constitutionality of
                                   □    220 Foreclosure
                                                                    368 Asbestos              □    Disabilities-Other             Litigation
                                   D    230 Rent Lease &
                                                              □     Personal Injury                                         D     791 Employee Ret. Inc.
       State Statutes
                                        Ejectment                   Product Liabilitv         □    448 Education
                                                                                                                                  Security Act


FOR OFFICE USE ONLY:                            Case Number:
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    VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
    to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.
                                                                                                                                                                                        .
    QUESTION A: Was this case removed
    from state court?
                                                                                    $TATECASE WAS PENDING IN THE COUNTY OF:                                      INITIAL DIVISION IN CACD IS:

                     □       Yes    [El        No
                                                              [El         Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                                Western
    If "no," skip to Question B. If "yes," check the
    box to the right that applies, enter the                      □   Orange                                                                                                 Southern
    corresponding division in response to
    Question E, below, and continue from there.                   □       Riverside or San Bernardino                                                                            Eastern


    QUESTION B: Is the United States, or B.1. Do 50% or more of the defendants who reside in                                        YES. Your case will initially be assigned to the Southern Division.
                                         the district reside in Orange Co.?
                                                                                                                              □
    one of its agencies or employees, a                                                                                             Enter "Southern" in response to Question E, below, and continue
    PLAINTIFF in this action?                                                                                                       from there.
                                                              check one of the boxes to the right             -+
                     □       Yes    [El        No
                                                                                                                              □     NO. Continue to Question B.2.

                                                              B.2. Do 50% or more of the defendants who reside in                   YES. Your case will initially be assigned to the Eastern Division.
    If "no," skip to Question C. If "yes," answer             the district reside in Riverside and/or San Bernardino
    Question B.1, at right.                                   Counties? (Consider the two counties together.)                 □     Enter "Eastern" in response to Question E, below, and continue
                                                                                                                                    from there.

                                                              check one of the boxes to the right                                   NO. Your case will initially be assigned to the Western Division.
                                                                                                              -+              □     Enter "Western" in response to Question E, below, and continue
                                                                                                                                    from there.
                                                        .                                                                                                           .
    QUESTIONC: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                                     YES. Your case will initially be assigned to the Southern Division.
                                        district reside in Orange Co.?
                                                                                                                              □
    one of its agencies or employees, a                                                                                             Enter "Southern" in response to Question E, below, and continue
    DEFENDANT in this action?                                                                                                       from there.
                                                              check one of the boxes to the right             -+
                     □       Yes    [El        No
                                                                                                                              □     NO. Continue to Question C.2.

                                                              C.2. Do 50% or more of the plaintiffs who reside in the               YES. Your case will initially be assigned to the Eastern Division.
    If "no," skip to Question D. If "yes," answer             district reside in Riverside and/or San Bernardino
    Question C.1, at right.                                   Counties? (Consider the two counties together.)                 □     Enter "Eastern" in response to Question E, below, and continue
                                                                                                                                    from there.

                                                              check one of the boxes to the right             -+                    NO. Your case will initially be assigned to the Western Division.

                                                                                                                              □     Enter "Western" in response to Question E, below, and continue
                                                                                                                                    from there.                                                                             I
                                                                                                                              A.                            8.                                             c.
          ' D: L<l~tiqn ofplaintiffs and defendants?
    QUESTION                                                                                                           Orange County
                                                                                                                                                    Riverside or San
                                                                                                                                                  Bernardino County
                                                                                                                                                                                        Los Artge!(\!s, Ventura,
                                                                                                                                                                                        Santa Barbara, or San
                     ·.·.·     ..         .·                                                                                                                                             luis>C>bispo County
 Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
.reside. (Check up to two boxes, or leave blank if none of these choices apply.)
i
                                                                                                                             □                             □                                              □
'Indicate the location(s) in which 50% or more of defendants who reside in this
jdistrict reside. (Check up to two boxes, or leave blank if none of these choices
 apply.)                                                                                                                     □                             □                                              [g]
                .·
                                                                                                         .·                                                                                      .         ·.

                      D.1. Is there at least one answer in Column A?                                                         D.2. Is there at least one answer in Column B?
                                                                                                                                                                                                                            i
                                                    D   Yes   [gj         No                                                                    D Yes         [gj       No                                                  i


                             If "yes," your case will initially be assigned to the                                              If "yes," your case will initially be assigned to the                                       I

                                                                                                                                                                                                                            i
                                               SOUTHERN DIVISION.                                                                              EASTERN DIVISION.

         Enter "Southern" in response to Question E, below, and continue from there.                                            Enter "Eastern" in response to Question E, below.

                                    If "no," go to question D2 to the right.                -+                            If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                                               Enter "Western" in response to Question E, below.
                                                                                                                                                                                                                       !
QUESTIOtlE:lnltial
     . ··
                   Division?                                  .       :    .
                                                                                                                                           INITIAL DIVISION IN CACD .
                                                                                                                                                                                            ..

    Enter the initial division determined by Question A, B, C, or D above:
                                                                                                         -+                                          WESTERN
                                                                                                                                                                                                                     ., .
                                                                                                                                                                                                     :i
QUESTION•F:N~rtti•r11Counties7                                                 ·.      :·     .·    ·:                                                                            ·.:        .

    Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                                               D   Yes                 [g]        No


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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    ~ NO                0      YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below) to any cases previously filed in this court?                                      ~ NO                0     YES

        If yes, I ist case number(s):


Civil cases are related when they:


     D A.     Arise from the same or closely related transactions, happening, or event;

     D B. Call for determination of the same or substantially related or similar questions of law and fact; or
     D C.     For other reasons would entail substantial duplication of labor if heard by different judges.

     Check all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases
     related.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): _/s_/T_iff_a_n~y_N_.B_u_d_a_ _ _ _ _ _ _ _ _ _ _ __                                                  DATE:     7/8/2020

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code        Abbreviation                    Substantive Statement of Cause of Action
                                                    All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                        HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                    (42 U.S.C. 1935FF(b))

        862                         BL             All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

                                                    All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                        DIWC
                                                    all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claim$ filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                        DIWW
                                                   amended. (42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                         5510           amended.


        865                        RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                    (42 u.s.c. 405 (g))




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